Case 1:17-cv-20158-JEM
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                                                                      FILED B                   D
     The Honorable Jose E.M adinez                                                              ,   C,
     DistrictJudge ofthe United States DistrictCoud
     W ilkie D.Ferguson,Jr.United States Coudhouse                            AFF 15 2222
     400 Nodh M iam iAvenue Room 10-1
     M iam i,Florida 33128                                                    St
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     10 April2020


     DearJudge M artinez,


     lam writing thisIetteron behalfofThomas Keelan (Thomas P.Keelan 98219004
     FCIFortDi x)
     l'm writing this on behalfofThom as Keelan

     Case Num ber:17-20158r IV-MA RTINV e O O DM AN
     (CriminalCase Num- r:IZ-IM O -CR-MARMNEZ)
     DearJudge Goodm an,

     This letteris notto address Iegaldecisions,butto address Thom as Keelan
     him self.Iknew Tom fora num berofyears when he was a teacheratThe
     Com m unity School,a schoolm y son attended in Sun Valley, Idaho.

     Tom w as m ore than a teacher.He w as a confidantand friend to m any .

     The Com m unity Schoolhas long had a tradition ofgiving students atgraduation
     the opportunity to express, in frontoffam ily,teachers and peers, gratitude to
     those whose supporthelped guide and assistthem through upperschool's
     som etimes rocky road ofpersonaland scholastic challenges Although Ido not
                                                                .

     have an actual'count''1overthe years Iwitnessed Tom given accolades by m any
     students w ho,w ith open head,thanked Tom ,crediting him forhelping them find
     theirown voices.There were always a few w ho acknow ledged thatTom usaved''
     them as they stum bled through theiradolescence .




     Prison,itseem s,serves as society's m eans fordeterrence, retribution,
     incapacitation and ultim ately rehabilitation
                                                 .



     Atthis tim e ofCovid-lg,when early release is being considered nationw ide to
     protectthose im prisoned and the m any com m itted to theircare, hopefully Tom
     willbe considered a prime candidate. Isusm ctthatTom has Iearned from bad
     decisions,is nota threatto others and has m etallthe reasons forhis
     imprisonm ent..aexcepthis long sentence .
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     I've learned Tom has a comprom ised im m une system and as an olderinmate he
     is particularly vulnerable to Covid-lg.Tom is non-violentand lunderstand has
     served m ore than halfhis Iong sentence.As early releases are being considered
     (wi
       th obviousstructure)!Tom'srelease could help notonlyprotecthim,butalso
     possibly preventpotentlalillness and deaths am ong others im prisoned,the staff
     as wellas Floridians who potentially would be com peting forthe sam e hospital
     Cafe.

     I'm sure Tom 's im prisonm entwas notm eantto be a death sentence to him norto
     others.

     W ith gratitude forconsidering this request,

     Respectfully,


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     BarbiReed
     PO Box 597
     531 East9thstreet
     Ketchum ,ID 83340

     cc:The Honorable Jonathon Goodm an,
     M agistrate Judge United States DistrictCourtforthe Southern Distrid ofFlorida
     Jam es Lawrence King FederalJustice Building
     99 N.E.Foudh Street Room 1168
     M iam i,Florida 33132
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